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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
DONALD HESS and ELIZABETH PADILLA,
individually and on behalf of all others similarly           Case No. 21-cv-04099(AT)(RWL)
situated,

                                               Plaintiffs,

                        -against-

BED BATH & BEYOND INC.,

                                             Defendant.




 DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS




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                                PRELIMINARY STATEMENT

         Plaintiff Donald Hess (“Hess”) was a part-time employee at a Bed Bath & Beyond Inc.

(“BBB”) store in West Babylon, New York as both a Stock Associate and Sales Associate.

Plaintiff Elizabeth Padilla (“Padilla”) was an Overnight Department Manager at a BBB store on

the Upper East Side of Manhattan, New York. Both have brought a single claim against BBB on

behalf of allegedly similarly situated manual workers who claim they should have been paid

weekly instead of bi-weekly pursuant to New York Labor Law (“NYLL”) Section 191. Plaintiffs’

claims are flawed, and should thus be dismissed for two reasons: first, this Court does not have

jurisdiction over the claims because Plaintiffs have not adequately alleged Article III Standing;

and, second, Plaintiffs lack an explicit or implied right to sue under NYLL § 191. Defendant

informed Plaintiffs of these fatal deficiencies, which Plaintiffs attempted to cure through their First

Amended Complaint (“FAC”); however, their amendments failed to cure the pleading deficiencies.

                                   STATEMENT OF FACTS

         Plaintiff Hess worked as an employee at a Bed Bath & Beyond Inc. (“BBB”) store in West

Babylon, New York as both a Stock Associate and Sales Associate. (FAC ¶¶11-12). Hess alleged

that he spent at least 25 percent of his working time engaged in physical labor, which qualified

him as a “manual worker” for purposes of the NYLL. (FAC ¶¶ 16, 18). Hess alleged that rather

than weekly, he was paid bi-weekly. (FAC ¶¶ 20, 21). Accordingly, Hess alleged, “BBB paid

[him] the wages earned in the first workweek of each bi-weekly pay period later than seven

calendar days after the end of the week in which such wages were earned.” (FAC ¶22).

Importantly, Hess did not allege that he was not paid all the wages owed to him; rather only that

Defendant paid half of his bi-weekly wages a week late. (FAC ¶¶1-34).




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         In connection with his frequency of pay claim, Plaintiff Hess superficially alleges that:

         Plaintiff Hess and the members of the Retail Stock [and Sales] Associate Class were injured
         and harmed by Defendant BBB’s violation of NYLL § 191 as, inter alia, they were not
         timely paid their wages and were thus deprived of the timely receipt and ability to use their
         money. In such circumstances, Courts have determined that the exact amount of monetary
         damages is difficult to determine and thus Plaintiffs and the members of the Retail Stock
         Associate Class are entitled to liquidated damages in the amount of the late paid wages.

(FAC ¶¶78, 89).

         Plaintiff Padilla was an Overnight Department Manager at a BBB store on the Upper East

Side of Manhattan, New York. (FAC ¶¶25-26). Padilla alleged that she spent at least 25 percent

of her working time engaged in physical labor, which qualified her as a “manual worker” for

purposes of the NYLL. (FAC ¶¶ 29, 30). Padilla alleged rather than weekly, she was paid bi-

weekly” (FAC ¶¶ 31, 32). Accordingly, Padilla alleged, “BBB paid [her] the wages earned in the

first workweek of each bi-weekly pay period later than seven calendar days after the end of the

week in which such wages were earned.” (FAC ¶33). Importantly, Padilla did not allege that she

did not receive all the wages owed to her; rather only that Defendant paid half of her bi-weekly

wages a week late. (FAC ¶¶1-34). Padilla pleaded the same alleged injury as Hess in that she and

other Overnight Department Managers “were injured and harmed by Defendant BBB’s violation

of NYLL § 191 as, inter alia, they were not timely paid their wages and were thus deprived of the

timely receipt and ability to use their money.” (FAC ¶100).

         With all of the class allegations, Plaintiffs only sought “liquidated damages,” not back or

unpaid wages. (FAC ¶Prayer for Relief (c-e)). Plaintiffs did not allege any other wage violations,

including but not limited to any underpayment or non-payment of wages. (FAC ¶¶1-102).




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                                            ARGUMENT

I.       MOTION TO DISMISS STANDARD

         A.     12(b)(1) Motion to Dismiss Standard

         “[A] district court may properly dismiss a case for lack of subject matter jurisdiction under

Rule 12(b)(1) if it lacks the statutory or constitutional power to adjudicate it.” Aurecchione v.

Schoolman Transp. Sys., Inc., 426 F.3d 635, 638 (2d Cir. 2005) (internal quotation marks and

citations omitted); accord Sokolowski v. Metro. Transp. Auth., 723 F.3d 187, 190 (2d Cir. 2013).

“A plaintiff asserting subject matter jurisdiction has the burden of proving by a preponderance of

the evidence that it exists.” Makarova v. United States, 201 F.3d 110, 113 (2d Cir. 2000) (citation

omitted).

         In resolving a Rule 12(b)(1) motion to dismiss, “[t]he court must take all facts alleged in

the complaint as true and draw all reasonable inferences in favor of [the] plaintiff, but jurisdiction

must be shown affirmatively, and that showing [may] not [be] made by drawing from the pleadings

inferences favorable to the party asserting it.” Morrison v. Nat'l Austl. Bank Ltd., 547 F.3d 167,

170 (2d Cir. 2008) (internal citation and quotation marks omitted).

         If “the Rule 12(b)(1) motion is facial, i.e., based solely on the allegations of the complaint

or the complaint and exhibits attached to it (collectively the “Pleading”) ... [t]he task of the district

court is to determine whether the Pleading ‘allege[s] facts that affirmatively and plausibly suggest

that [the plaintiff] has standing to sue.’” Carter v. HealthPort Techs., LLC, 822 F.3d 47, 56 (2d

Cir. 2016) (quoting Amidax Trading Grp. v. S.W.I.F.T. SCRL, 671 F.3d 140, 145 (2d Cir. 2011)).

         B.     12(b)(6) Motion to Dismiss Standard

         To survive a Rule 12(b)(6) motion to dismiss, a plaintiff must plead sufficient factual

allegations in the complaint that, accepted as true, ‘“state a claim to relief that is plausible on its

face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

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544, 570 (2007) (internal quotation marks omitted)). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556). A plaintiff

is not required to provide “detailed factual allegations” in the complaint, but must assert “more

than labels and conclusions, and a formulaic recitation of the elements of a cause of action will not

do.” Twombly, 550 U.S. at 555. (citation omitted). Ultimately, the facts pleaded in the complaint

“must be enough to raise a right to relief above the speculative level.” Id. (citation omitted).

II.      AS PLAINTIFFS DO NOT ALLEGE ARTICLE III STANDING,
         THEIR CLAIMS MUST BE DISMISSED PURSUANT TO FRCP 12(b)(1)

         To satisfy the “irreducible constitutional minimum” of Article III standing, a plaintiff bears

the burden of establishing (i) “injury in fact,” (ii) a “causal connection” between that injury and

the complained-of conduct, and (iii) a likelihood “that the injury will be redressed by a favorable

decision.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992) (internal quotation marks and

citations omitted); accord Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016).

         “Where, as here, a case is at the pleading stage, the plaintiff must clearly allege facts

demonstrating each element” of standing. Id. (internal quotation marks and citations omitted).

         The injury must be an “injury in fact,” meaning it is “concrete and particularized” and

“actual or imminent, not conjectural or hypothetical.” Lujan, 504 U.S. at 560 (internal quotation

marks and citations omitted). To be “particularized,” “the injury must affect the plaintiff in a

personal and individual way,” id. at 560 n.1, and to be “concrete,” the injury “must be de facto;

that is, it must actually exist.” Spokeo, 578 U.S. at 340 (internal quotation marks and citation

omitted) (“When we have used the adjective ‘concrete,’ we have meant to convey the usual

meaning of the term—‘real,’ and not ‘abstract.’”) (citation omitted). “Congress is well positioned

to identify intangible harms that meet minimum Article III requirements.” Id. at 341. However,


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“a bare procedural violation, divorced from any concrete harm” is insufficient; even in the context

of a statutory violation, a concrete injury is necessary. Id. (citation omitted).

         The Supreme Court “has rejected the proposition that ‘a plaintiff automatically satisfies the

injury-in-fact requirement whenever a statute grants a person a statutory right and purports to

authorize that person to sue to vindicate that right.’” TransUnion LLC v. Ramirez, 141 S. Ct. 2190,

2205 (2021) (citation omitted). “‘Article III standing requires a concrete injury even in the context

of a statutory violation.’” Id. (citation omitted). “[U]nder Article III, an injury in law is not an

injury in fact.” Id. Plaintiffs have failed to allege the first prong of this test, an injury in fact that

is concrete and particularized.


         A.     Because They Were Paid Their Full Wages, Plaintiffs
                Have Not Pleaded a Concrete, Actual, or Imminent Injury

         Plaintiffs make vague and conclusory allegations that they suffered harm notwithstanding

the fact that they were paid their full wages for the entirety of the statutory period. See Schwartz

v. HSBC Bank USA, N.A., No. 14 CIV. 9525, 2017 WL 95118, at *7–8 (S.D.N.Y. Jan. 9, 2017),

aff'd, 750 F. App'x 34 (2d Cir. 2018) (dismissing complaint with prejudice where Plaintiff failed

to plead a concrete injury); see also Wood v. Mut. Redevelopment Houses, Inc., No. 14CIV07535,

2016 WL 11720460, at *10 (S.D.N.Y. Mar. 31, 2016), reconsid. denied in part, granted in part,

2017 WL 11589600 (S.D.N.Y. Mar. 1, 2017) (J. Torres) (finding no standing where Plaintiffs were

part of the group granted protections by the statute). Yet, Plaintiffs’ allegations that they were

deprived of “the timely receipt and ability to use their money,” do not constitute concrete injuries.

Rather, Plaintiffs’ reference to “timely receipt” is merely the recital of a statutory right, and their

reference to an “ability to use their money” does not establish a concrete harm. As the Supreme

Court pronounced in Spokeo, “[w]hen we have used the adjective ‘concrete,’ we have meant to

convey the usual meaning of the term—‘real,’ and not ‘abstract.’” 578 U.S. at 340. But, “ability

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to use” is just that: an abstract concept that does not state anything real, i.e., what Plaintiffs would

have done with their money in the intervening period of time, or how Plaintiffs had otherwise

treated the money they received bi-weekly.

         Courts have rejected similar claims in other contexts. For example, in the consumer credit

card context, where plaintiffs alleged an injury based on breach of a credit card agreement by a

bank, despite having been ultimately reimbursed for their economic damages, Judge Failla held:

         All damages alleged in the Complaint flow from this breach. Defendants have,
         however, provided Plaintiff with a cashier's check that reimburses Plaintiff for all
         economic damage he incurred as a result of the alleged breach, a fact that Plaintiff
         does not dispute. (Epstein Decl. ¶ 13). That Plaintiff received the Refund Check
         demonstrates the absence of any “actual” injury on which Plaintiff's standing could
         be established.

Epstein v. JPMorgan Chase & Co., No. 13 CIV. 4744, 2014 WL 1133567, at *7 (S.D.N.Y. Mar.

21, 2014) (citation omitted) (J. Failla). See also Air Espana v. Brien, 165 F.3d 148, 153 (2d

Cir.1999) (upholding dismissal of claims related to canceled fines imposed by the defendant);

Hunter v. C.I.R., No. 09 Civ. 4268, 2010 WL 2605715, at *4 (S.D.N.Y. June 29, 2010), Report

and Recommendation Adopted by 2010 WL 2927160 (S.D.N.Y. July 23, 2010) (dismissing

plaintiff’s claim for lack of subject matter jurisdiction where plaintiff had received the refund for

which he filed suit); White v. First Am. Registry, 230 F.R.D. 365, 368–69 (S.D.N.Y. 2005)

(holding, in context of class certification motion, that plaintiff did not have standing where

defendant had remedied the alleged wrongful conduct prior to plaintiff filing suit). To be sure, the

foregoing decisions can be distinguished from the instant litigation where Plaintiffs here are

seeking liquidated damages pursuant to the NYLL; however liquidated damages are not an

independent “injury in fact” necessary to confer Article III standing. See Ross v. AXA Equitable

Life Ins. Co., 115 F. Supp. 3d 424, 434 (S.D.N.Y. 2015), aff’d, 680 F. App’x 41 (2d Cir. 2017)

(pleading a state law violation is not sufficient to confer Article III standing).


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         In addition, neither Plaintiff is currently employed by BBB (FAC ¶¶10, 23), and the

Company maintains a variance from the New York State Department of Labor (“NYSDOL”)

allowing it to pay any purported “manual workers” on a bi-weekly basis since November 13, 2018.

(FAC ¶23, 34). Accordingly, there is no “imminent” injury as neither employee could potentially

be paid bi-weekly on a going forward basis. Indeed, Plaintiffs have failed to allege a concrete

injury because the concepts they pleaded are, at best, nebulous and conclusory. They cannot allege

actual injury because they have already been paid their full wages prior to filing the suit.

         B.     Plaintiffs Have Failed To Allege a Particularized Injury

         The allegations in the FAC that Plaintiffs personally and individually suffered an injury

based on an alleged NYLL violation are conclusory and inadequately pleaded.                     To be

particularized for purposes of satisfying Article III standing, “the injury must affect the plaintiff in

a personal and individual way.” Lujan, 504 U.S. at 560 n.1 (emphasis added); see also Valley

Forge Christian Coll. v. Ams. United for Separation of Church & State, Inc., 454 U.S. 464, 472

(1982) (“[T]he party who invokes the court's authority [must] show that he personally has suffered

some actual or threatened injury as a result of the putatively illegal conduct of the defendant.”)

(internal quotation marks and citation omitted); Strubel v. Comenity Bank, 842 F.3d 181, 191 n.10

(2d Cir. 2016) (“[P]articularity requires that one sustain a grievance distinct from the body politic,

not a grievance unique from that of any identifiable group of persons.”) (citation omitted).

         There is no better demonstration of generalized pleading that lacks the requisite

particularity of injury when one compares the identical language pleaded in paragraphs 78, 89 and

100 of the FAC. The exact words (save for the name of the Plaintiff used) is recycled: “Plaintiff

[insert name] and the members of the [employee group] Class were injured and harmed by

Defendant BBB’s violation of NYLL § 191 as, inter alia, they were not timely paid their wages

and were thus deprived of the timely receipt and ability to use their money” (FAC ¶¶78,89, 100).

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There is no particularity in this pleading. It is rote, non-specific, conclusory, and fails to provide

any indicia of any actual or otherwise particularized injury in fact.

         C.     Merely Pleading a Violation of a State Statute is Not
                Sufficient to Confer Article III Standing

         The mere allegation of a technical violation of a state statute, without a more specific

pleading regarding injury is not sufficient to confer Article III Standing. “[State] courts may afford

litigants standing to appear where federal courts would not, but the fact that a state court would

permit a plaintiff to assert an action has no bearing on the plaintiff's standing under Article III.”

LaPierre ex rel. Town of Yorktown v. DiBartolo, No. 12–CV–1996, 2013 WL 656313, at *3

(S.D.N.Y. Feb. 21, 2013) (citation omitted). The limitations on standing “serve[ ] vital interests

going to the role of the Judiciary in our system of separated powers,” Hollingsworth v. Perry, 570

U.S. 693, 715 (2013), and are “founded in concern about the proper—and properly limited—role

of the courts in a democratic society.” Allen v. Wright, 468 U.S. 737, 750 (1984) (internal

quotation marks and citation omitted). It follows that “[s]tates cannot alter that role simply by

issuing to private parties who otherwise lack standing a ticket to the federal courthouse.”

Hollingsworth, 570 U.S. at 715; Ross, 115 F. Supp. 3d at 434 (“the Court is not aware of (and

Plaintiffs do not cite) any authority suggesting that a state legislature can confer Article III standing

upon a plaintiff who suffers no concrete harm merely by authorizing a private right of action based

on a bare violation of a state statute.”).

         Here, Congress has not granted Plaintiffs the right to sue in Federal court through creation

of a specific statute conferring standing in its text. See, e.g., Linda R.S. v. Richard D., 410 U.S.

614, 617 n.3 (1973) (“Congress may enact statutes creating legal rights, the invasion of which

creates standing, even though no injury would exist without the statute.”) (citations omitted).




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Rather, here, Plaintiffs pleaded an exclusively state law statutory violation.          This alone is

insufficient to establish standing.

         D.     Pleading a Class-Wide Violation of a Statute Does
                Not Obviate Plaintiffs’ Requirement to Plead Standing Individually

         Class-wide pleading does not save Plaintiffs’ failure to adequately plead standing on an

individualized basis. Courts have made clear “that the standing requirement cannot be dispensed

with by styling the complaint as a class action.” Policemen’s Annuity and Benefit Fund of Chicago

v. Bank of Am., NA, 907 F.Supp.2d 536, 545 (S.D.N.Y. 2012) (citation omitted); see also Lewis

v. Casey, 518 U.S. 343, 357 (1996) (“That a suit may be a class action adds nothing to the question

of standing.…”); Allee v. Medrano, 416 U.S. 802, 829 (1974) (Burger, C.J., concurring in part and

dissenting in part) (“Standing cannot be acquired through the back door of a class action.”)

(citations omitted). The “plaintiff [still] must allege ‘a distinct and palpable injury to himself, even

if it is an injury shared by a large class of other possible litigants.’” Southside Fair Hous. Comm.

v. City of New York, 928 F.2d 1336, 1341 (2d Cir.1991) (citation omitted); see also Lewis, 518

U.S. at 357 (“[E]ven named plaintiffs who represent a class ‘must allege and show that they

personally have been injured, not that injury has been suffered by other, unidentified members of

the class to which they belong and which they purport to represent.”’) (citations omitted).

         E.     Plaintiffs Have Not Adequately Pleaded Time Value of Money

         Given the most generous reading of the FAC, Plaintiffs pleaded that they were deprived of

the time-value of money, as they (vaguely, at best) allege the “ability to use their money” (FAC

¶¶78, 89) was impeded during the weeks in between their first week of work and the bi-weekly

payment of wages. This allegation is, however, of no moment, as there is no controlling Second

Circuit case law in which a court has found that a claim for damages based on the time-value of

money is sufficient on its own to confer Article III standing. See Epstein, 2014 WL 1133567, at


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*7 n.6 (holding Plaintiff lacked standing); see also New Creation Fellowship of Buffalo v. Town

of Cheektowaga, N.Y., 164 F. App'x 5, 7 (2d Cir.2005) (holding a party did not have standing

where it experienced only “minor inconveniences”); see c.f. Porsch v. LLR, Inc., 380 F. Supp. 3d

418, 424-425 (S.D.N.Y. 2019) (J. Cote) (finding standing due to time value of money). Based on

existing Second Circuit precedent, as well as persuasive authority from other circuits, this Court

should not grant standing here.

         The Eleventh Circuit’s decision in Kawa Orthodontics, LLP v. Secretary, U.S. Department

of the Treasury is instructive, as the plaintiff’s pleading deficiencies there, as here, ultimately

doomed its claim. 773 F.3d 243, 246 (11th Cir. 2014). In Kawa, the Eleventh Circuit declined to

grant standing in the Plaintiff’s favor where the complaint alleged plaintiff lost the “value of the

time and resources it expended in 2013.” Importantly, the Court noted that courts “may not

hypothesize or speculate about the existence of an injury Kawa did not assert. [The Court] may

not speculate concerning the existence of standing or piece together support for the plaintiff.” 1 Id.

(citation omitted). Likewise, here, Plaintiffs fail to allege time-value of money as an injury.

Accordingly, the Court cannot hypothesize about a potential injury that Plaintiffs failed to plead.

         To be sure, the requisite pleading threshold for time value of money is substantial, where

in order to allege a “concrete, actual non-hypothetical loss of that time value” plaintiffs must

“allege[] [or] imply[] what [plaintiff’s] would have invested” in had the money been available to

them sooner. Dress v. Cap. One Bank (USA), N.A., No. 1:19-CV-00343, 2019 WL 3451304, at

*3 (E.D. Va. July 30, 2019), aff’d, 849 F. App’x 55 (4th Cir. 2021) (“Where a plaintiff raises an

injury in fact argument premised solely on the lost time value of money, conclusory allegations

that the plaintiff was deprived of the use of those funds and is entitled to be compensated for [the]


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  The dissent in Kawa pointed out that the “lost two years of interest” was another potential claim of injury, though
it was not specifically pleaded, and therefore the majority rejected that it was properly pleaded. Id. at 246.

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lost use of funds are not sufficient to establish injury in fact even at the motion to dismiss stage.”)

(citing Taylor v. Fed. Aviation Admin., 351 F. Supp. 3d 97, 103 (D.D.C. 2018) (Rejecting

Plaintiff’s time value of money theory for standing where “Plaintiff [did] not allege any facts to

suggest that if he had not paid the $5 registration fee he would have invested the $5 in some way

to increase its value. At most, he offers only generalizations that he was ‘deprived ... of [the] use

of those funds’ and is entitled ‘to be compensated for his lost use of funds,’ and noting “[s]uch

conclusory proclamations are not the kind of clear allegations of fact necessary to establish an

injury in fact, even at the motion to dismiss stage.”) (citations omitted). Here, the FAC is devoid

of any additional facts that support the idea that Plaintiffs would have done something productive

with the funds for which they were deprived use of for one week at a time.

         The FAC falls short of even alleging a time value of money injury; but, certainly fails to

contain any of the necessary elements of such a claim.


III.     NYLL § 191 DOES NOT CONFER UPON PLAINTIFFS
         A PRIVATE RIGHT OF ACTION

         A.     The Plain Language of NYLL § 191 Does Not
                Authorize A Private Right of Action

         Plaintiffs seek liquidated damages for allegedly late paid wages, purportedly pursuant to

NYLL §§ 191 and 198. NYLL § 191 (“Frequency of payments”), however, does not provide for

any remedy or civil action; thus, for Plaintiffs to be allowed to bring their claim, it (or a remedy)

necessarily must be authorized by NYLL § 198 (“Costs, remedies”). A review of the plain

language of NYLL § 198(1-a) proves, however, that no such claim or remedy exists.

         “When interpreting a statute, a court should always turn first to one, cardinal canon before

all others[:] . . . courts must presume that a legislature says in a statute what it means and means

in a statute what it says there. When the words of a statute are unambiguous, then, this first canon


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is also the last: judicial inquiry is complete.” U.S. v. Worldwide Indus. Enters., Inc., 220 F. Supp.

3d 335, 338 (E.D.N.Y. 2016) (internal quotation marks and citations omitted); see also Bostock v.

Clayton Cnty., Ga., 140 S. Ct. 1731, 1738 (2020) (“This Court normally interprets a statute in

accord with the ordinary public meaning of its terms at the time of its enactment. After all, only

the words on the page constitute the law. . . .”); Commonwealth of N. Mar. I. v. Canadian Imperial

Bank of Commerce, 21 N.Y.3d 55, 60 (NY 2013) (explaining that “our starting point is the

language itself, giving effect to the plain meaning thereof.”) (internal quotation marks and citation

omitted). Here, the unambiguous text of NYLL § 198 (1-a) authorizes employees to bring claims

for liquidated damages pertaining only to the “underpayment” of wages, not to the alleged late

payment of wages.

         The first two sentences of NYLL § 198(1-a) address the New York State Department of

Labor Commissioner’s authority to bring an enforcement action against employers:

         On behalf of any employee paid less than the wage to which he or she is entitled
         under the provisions of this article, the commissioner may bring any legal action
         necessary, including administrative action, to collect such claim and as part of such
         legal action, in addition to any other remedies and penalties otherwise available
         under this article, the commissioner shall assess against the employer the full
         amount of any such underpayment, and an additional amount as liquidated
         damages, unless the employer proves a good faith basis for believing that its
         underpayment of wages was in compliance with the law. Liquidated damages shall
         be calculated by the commissioner as no more than one hundred percent of the total
         amount of wages found to be due, except such liquidated damages may be up to
         three hundred percent of the total amount of the wages found to be due for a willful
         violation of section one hundred ninety-four of this article.

NYLL § 198(1-a). The third sentence authorizes civil lawsuits by employees or the Commissioner:

         In any action instituted in the courts upon a wage claim by an employee or the
         commissioner in which the employee prevails, the court shall allow such employee
         to recover the full amount of any underpayment, all reasonable attorney's fees,
         prejudgment interest as required under the civil practice law and rules, and, unless
         the employer proves a good faith basis to believe that its underpayment of wages
         was in compliance with the law, an additional amount as liquidated damages equal
         to one hundred percent of the total amount of the wages found to be due, except


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         such liquidated damages may be up to three hundred percent of the total amount of
         the wages found to be due for a willful violation of section one hundred ninety-four
         of this article.

Id.

         As its plain text demonstrates, NYLL § 198(1-a) permits an employee to sue “upon a wage

claim” to recover “the full amount of any such underpayment.” NYLL § 198(1-a). The term

“underpayment” is not defined in NYLL § 198(1-a). But, given the commonly understood

meaning of the prefix “under,” it is not surprising that the Merriam-Webster dictionary definition

of “underpay” is “to pay less than what is normal or required.” https://www.merriam-

webster.com/dictionary/underpay (last visited November 1, 2021); see also State v. Dep’t of

Justice, 951 F.3d 84, 106 (2d Cir. 2020), cert. dismissed, 141 S. Ct. 1291 (2021) (words in a statute

that are not “statutorily defined” are “properly construed according to [their] contemporary

dictionary definition”) (citations omitted); Yaniveth R. ex rel. Ramona S. v. LTD Realty Co., 27

N.Y.3d 186, 192 (NY 2016) (“In the absence of a statutory definition, we construe words of

ordinary import with their usual and commonly understood meaning, and in that connection have

regarded dictionary definitions as useful guideposts in determining the meaning of a word or

phrase.”) (internal quotation marks and citation omitted). Plaintiffs do not allege that they were

paid “less than what [was] . . . required.”           Therefore, they do not seek to recover an

“underpayment.” Stated differently, the “ordinary public meaning” of “underpayment” compares

the amount of payment received against the required amount. It says nothing about the timeliness

of any such payment.

         That “underpayment” pertains to amount, and not timeliness, is further supported by the

plain text of NYLL § 198(1-a) in other ways. For example, the first sentence of NYLL § 198(1-

a) provides that the Commissioner shall, in any legal action brought by the Commissioner “[o]n



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behalf of any employee paid less than the wage to which he or she is entitled,” “assess against the

employer the full amount of any such underpayment.” NYLL § 198(1-a). The New York

Legislature’s use of the term “such” to modify “underpayment” is a clear reference to the phrase

“paid less than the wage to which he or she is entitled” appearing earlier in the same sentence.

Thus, the Legislature’s use of the term “such” demonstrates that “underpayment” and “paid less

than the wage to which he or she is entitled” have the same meaning. As a result, “underpayment”

cannot mean “late paid.” See Dep’t of Revenue of Ore. v. ACF Indus., Inc., 510 U.S. 332, 342

(1994) (referring to the “normal rule of statutory construction” that “identical words used in

different parts of the same act are intended to have the same meaning”) (internal quotation marks

and citation omitted).

         The same conclusion flows from a close reading of the third sentence of NYLL § 198(1-

a). That sentence provides, in part, that “unless the employer proves a good faith basis to believe

that its underpayment of wages was in compliance with the law,” a prevailing employee can

recover “an additional amount as liquidated damages equal to one hundred percent of the total

amount of the wages found to be due. . . .” NYLL § 198(1-a). That language confirms that the

phrases “underpayment of wages” and “the wages found to be due” have the same meaning.

Again, then, “underpayment” must mean a payment of wages that is “less than . . . required” – not

merely a late payment of the required amount.

         Likewise, the reference to a “wage claim” in the beginning of the third sentence of NYLL

§ 198(1-a) confirms this reading.     A “wage claim” must be one that seeks to recover an

“underpayment,” and, as explained above, by reference to the first sentence in NYLL § 198(1-a),

an “underpayment” means an employee was “paid less than the wage to which he or she is

entitled.” Accordingly, the “wage claim” referenced in the third sentence of NYLL § 198(1-a) is



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one that seeks the difference between the “the wage to which [an employee] is entitled” and the

amount that he/she received. That is not Plaintiffs’ claim here—they do not allege any difference

between the amount of wages they were paid and the amount of wages they were owed. In other

words, Plaintiffs do not seek a remedy for an “underpayment” pursuant to NYLL § 198(1-a).

         Put simply, application of the “plain and settled” meaning of “underpayment” demonstrates

that it does not encompass late—but fully paid—wages. “Less than” does not mean “later than.”

See Bostock, 140 S. Ct. at 1743 (“At bottom, these cases involve no more than the straightforward

application of legal terms with plain and settled meanings.”). In the Supreme Court’s words,

“when the meaning of the statute’s terms is plain,” a court’s “job is at an end.” Bostock, 140 S.

Ct. at 1749. Because the New York Legislature chose to permit a claim under NYLL § 198(1-a)

only for an “underpayment,” not a late payment, Defendants respectfully submit that this Court

should enforce the plain language enacted by the New York Legislature. See Bostock, 140 S. Ct.

at 1739 (explaining that Congress “could have” written statute differently in several ways, “[b]ut

none of this is the law we have”); see id. at 1738 (“If judges could add to, remodel, update, or

detract from old statutory terms inspired only by extratextual sources and our own imaginations,

we would risk amending statutes outside the legislative process reserved for the people’s

representatives. And we would deny the people the right to continue relying on the original

meaning of the law they have counted on to settle their rights and obligations.”) (citation omitted);

cf. U.S. v. Shellef, 756 F. Supp. 2d 280, 295 (E.D.N.Y. 2011), aff’d, 718 F.3d 94 (2d Cir. 2013)

(“[C]ourts should not add or modify language to statutes where, as here, it is clear from other

provisions within the same statute that Congress knew how to include such language if it so

wished.”).




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         B.     The History of NYLL § 191 Establishes That
                There is No Private Right of Action

         Prior to the First Department’s decision in Vega v. CM & Assoc. Constr. Mgmt., LLC, 175

A.D.3d 1144 (1st Dep’t 2019), the majority of courts to have considered the issue found there was

not a private right of action for a violation of Section 191. See Coley v. Vannguard Urban

Improvement Ass’n, No. 12CV5565, 2018 WL 1513628, at *13 (E.D.N.Y. Mar. 27, 2018)

(denying liquidated damages for late wages under § 191 because § 198 does not provide remedy);

Belizaire v. RAV Investigative & Sec. Servs. Ltd., 61 F. Supp. 3d 336, 360 n.22 (S.D.N.Y. 2014)

(noting that § 198’s liquidated damages provision “is geared to afford relief for unpaid wages, not

for late-paid wages”) (citation omitted); Hussain v. Pakistan Int’l Airlines Corp., No. 11-CV-932,

2012 WL 5289541, at *3 (E.D.N.Y. Oct. 23, 2012) (§ 198 provides liquidated damages for

“underpayment of wages” but not for “private recovery” for “technical violations” of pay

frequency requirements).     For example, the court in Hunter v. Planned Bldg. Servs., Inc.

interpreted § 198(1-a) to provide only for “recovery of nonpayment of wages,” but not “a private

right of action for violation of NYLL § 191(1)(a)(i) where the plaintiff has not alleged unpaid

wages exclusive of liquidated damages. . . .” No. 715053/2017, 2018 WL 3392476, at *1–3 (N.Y.

Sup. Ct. Queens Cnty. June 20, 2018) (emphasis added).

         While Courts post-Vega, have construed a private right of action, they have done so

primarily based on, respectfully, a conclusory reading of that case, rather than a thorough analysis

of the legislative history and legal precedent. The few courts that have analyzed this topic in some

depth are Scott v. Whole Foods Mkt. Grp., Inc., No. 18-cv-0086, 2019 WL 1559424 (E.D.N.Y.

Apr. 9, 2019) and Vega, 175 A.D.3d 1144; however, the Court should not follow either decision

because both contradict the plain language of NYLL § 198(1-a).




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         The Court in Vega, held both that there was an explicit textual support for construing a

private right of action and an implicit one that a Court can grant based on a variety of historical

factors. 175 A.D.3d at 1146. The Vega court held that the term “underpay” encompassed situations

involving late payment.     Id. at 1145.    Vega recognized that settled statutory interpretation

principles require courts to remain faithful to the “usual and commonly understood meaning” of

the relevant statutory text and, in fact, quoted the Merriam-Webster definition of “underpay.” Id.

But, by then treating the phrases “less than” and “later than” as having the same meaning, the court

ignored the plain terms of the definition it cited. Vega instead “read into the statute that which

was specifically omitted by the legislature,” Canadian Imperial Bank, 21 N.Y.3d at 62. The Vega

court went on to hold that “even if Labor Law § 198 does not expressly authorize a private action

for violation of the requirements of Labor Law § 191, a remedy may be implied.…” 175 A.D.3d

at 1146. As stated below, that analysis, too, is incorrect. See infra III(C).

         Scott makes no attempt to explain how a late payment of wages could constitute an

“underpayment” to trigger the remedies authorized by NYLL § 198(1-a). See generally Scott,

2019 WL 1559424. This failure to analyze the plain language of the statute is reason alone to

reject Scott. See, e.g., Bostock, 140 S. Ct. at 1738; Worldwide Indus. Enters., 220 F. Supp. 3d at

338; Canadian Imperial Bank, 21 N.Y.3d at 60.

         C.     There is Likewise No Basis To Imply A Private Right of Action

         Recognizing that the text of NYLL §§ 191 and 198 contain no support for its view, the

court in Scott went on to hold that “[e]ven if §191 does not expressly authorize a private action,”

then, in the alternative, “one may be implied” because it is consistent with the legislative scheme

of the NYLL. Scott, 2019 WL 1559424 at *3 (internal quotation marks and citation omitted). A

review of the NYLL shows, however, that implying a private right of action to pursue liquidated



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damages for an alleged late payment of wages would not be consistent with the legislative scheme

of the NYLL, as designed by the New York Legislature.

         To determine whether a private right of action is “‘fairly implied’ in [a] statute and its

legislative history, New York courts consider ‘(1) whether the plaintiff is one of the class for whose

particular benefit the statute was enacted; (2) whether recognition of a private right of action would

promote the legislative purpose; and (3) whether the creation of such a right would be consistent

with the legislative scheme.’” EEOC v. Vamco Sheet Metals, Inc., No. 13 Civ. 6088, 2014 WL

2619812, at *7 (S.D.N.Y. June 5, 2014) (quoting Maraia v. Orange Reg’l Med. Ctr., 63 A.D.3d

1113, 1116 (2d Dep’t 2009)). Of these three factors, courts interpreting New York law have

recognized that:

                The third factor is generally the most critical. Carrier, 667 N.E.2d
                at 329 [citations omitted]. This is because the Legislature has both
                the right and the authority to select the methods to be used in
                effectuating its goals, as well as to choose the goals themselves.
                Thus, regardless of its consistency with the basic legislative goal, a
                private right of action should not be judicially sanctioned if it is
                incompatible with the enforcement mechanism chosen by the
                Legislature or with some other aspect of the over-all statutory
                scheme. Sheehy v. Big Flats Cmty. Day, Inc., 541 N.E.2d 18, 21
                (N.Y.1989). Accordingly, New York courts have declined to
                recognize a private right of action in instances where the
                Legislature specifically considered and expressly provided for
                enforcement mechanisms in the statute itself. Cruz, 2 N.E.3d at 226
                (internal quotation marks and brackets omitted).

Agerbrink v. Model Serv. LLC, No. 14-cv-7841, 2015 WL 3750674, at *3 n.5 (S.D.N.Y. June 16,

2015) (internal quotation marks omitted) (emphasis added).

         Here, the New York Legislature did “specifically consider[] and expressly provide[] for

enforcement mechanisms” for violations of NYLL § 191—namely, it enacted NYLL § 218(1),

which provides in relevant part:




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                If the commissioner determines that an employer has violated a
                provision of article six (payment of wages) 2 [or other employment-
                related laws], the commissioner shall issue to the employer an order
                directing compliance therewith. . . . Where the violation is for a
                reason other than the employer's failure to pay wages, benefits or
                wage supplements found to be due, the order shall direct payment to
                the commissioner of a civil penalty in an amount not to exceed one
                thousand dollars for a first violation, two thousand dollars for a
                second violation or three thousand dollars for a third or subsequent
                violation.

See also Planned Bldg. Servs., 2018 WL 3392476, at *2 (rejecting private right of action theory

and noting that civil penalties are available against employers through Commission of Labor). In

other words, the New York Legislature decided that the Commissioner “shall direct payment” of

civil penalties by employers who violate NYLL § 191, and chose not to authorize employees to

privately seek liquidated damages under NYLL § 198(1-a) for the same conduct.

         The Commissioner of Labor and the State’s Industrial Board of Appeals (which reviews

orders issued by the Commissioner) have recognized, over and over, that violations of § 191’s pay

frequency requirement fall within the statutory category of a violation “other than . . . failure to

pay wages.” See, e.g., IKEA U.S., Inc., Order under Arts. 4 & 6 of N.Y. Lab Law (N.Y. Dep’t of

Lab, Div. of Lab. Statistics Oct. 7, 1994) (assessing civil penalty pursuant to § 218 for violations

of § 191(1)(a)); Wah Chan Wong v. Comm’r of Labor, Docket No. PR 12-090, Resolution of

Decision, at 13 (N.Y. Indus. Bd. of Appeals Oct. 26, 2016) (affirming $1,000 civil penalty for

violation of § 191(1)(a)); Sheng Wang Zhang v. Comm’r of Labor, Docket No. PR 12-180,

Resolution of Decision, at 13 (N.Y. Indus. Bd. of Appeals July. 13, 2016) (affirming $1,000 civil

penalty for violation of § 191(1)(a)); Popermhem v. Comm’r of Labor, Docket No. PR 13-153,

Corrected and Reissued Resolution of Decision, at 12–13 (N.Y. Indus. Bd. of Appeals Feb. 5,



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    Article Six of the New York Labor Law includes §§ 191 and 198.

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2016) (affirming $1,000 civil penalty for violation of § 191(1)(a)); Gerson v. Comm’r of Labor,

Docket No. PR 10-361, Resolution of Decision, at 8 (N.Y. Indus. Bd. of Appeals Nov. 5, 2014)

(affirming $1,000 civil penalty for violation of § 191(1)(d), a pay frequency requirement pertaining

to “clerical and other worker[s]”).3 In other words, every single one of these decisions treated the

§ 191 violation as one “other than the employer’s failure to pay wages” and assessed a civil penalty

pursuant to § 218(1) consistent with that category of violations. Not one of them imposed

liquidated damages—pursuant to §§ 191, 198(1-a), 218, or any other provision of the Labor

Laws—for the § 191 violation. Thus, consistent with the plain language of these statutes, the

Commissioner of Labor and the Industrial Board of Appeals routinely interpret § 218, rather than

§ 198(1-a), as the remedy for violations of § 191’s pay frequency requirements.

          Furthermore, the interpretation by the Commissioner of Labor and the Industrial Board of

Appeals that § 218, rather than § 198(1-a), is the correct remedy for violations of § 191’s pay

frequency requirements is a decision of an administrative agency that deserves deference. See

City of Bangor v. Citizens Commc’ns Co., 532 F.3d 70, 94 (1st Cir. 2008) (“Federal courts

generally defer to a state agency’s interpretation of those statutes it is charged with enforcing, but

not to its interpretation of federal statutes it is not charged with enforcing.”) (citations omitted);

see also Bldg. Trades Employs. Educ. Ass’n v. McGowan, 311 F.3d 501, 507 (2d Cir. 2002) (“We

defer to a state agency’s interpretation of its own regulations, unless the interpretation is arbitrary

or capricious.”) (citation omitted); Matter of Tommy and Tina, Inc. v. Dep’t of Consumer Affairs,

95 A.D.2d 724, 724 (1st Dep’t 1983), aff’d, 62 N.Y.2d 671 (NY 1984) (“Absent an arbitrary and

capricious regulation or interpretation of said regulations, courts should defer to the agency.”).

Here, the decision of applicable remedies for a purported Section 191 violation deserves deference


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    Copies of the decisions cited in this paragraph are attached to the Ruzal Declaration as Exhibits A to E.

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as well. The above cited law suggests a level of deference akin to that in the case of Chevron

U.S.A., Inc. v. Nat. Res. Defense Council, Inc., 467 U.S. 837, 844 (1984) (holding an arbitrary

and capricious standard should apply to federal agencies interpreting federal law). Even under the

more permissive standards of Skidmore v. Swift & Co., 323 U.S. 134 (1944), the Commissioner

of Labor and Industrial Board decisions would be owed deference on account of the consistency

of those decisions over the course of time, the validity of its reasoning in interpreting the text of

the statute, and other persuasive factors. See Id. at 140. In contrast, the Vega court’s holding

upended the long-held interpretation of a statute that was first enacted in 1890.

         This is precisely the Legislature’s purview, and there is no basis for this Court to upend it.4

Ultimately, the Scott court’s concern that the absence of a “private right of action under § 191

redressable under § 198” would “leave[] an aggrieved employee with no recourse” against

violations of § 191, Scott, 2019 WL 1559424 at *2, 4, was neither correct as a matter of law nor

a sound basis for implying a private right of action. See, e.g., Bostock, 140 S. Ct. at 1745 (beliefs

about what “the law was meant to do, or should do” do not “allow [the court] to ignore the law as

it is”); id. at 1737 (“When the express terms of a statute give us one answer and extratextual

considerations suggest another, it’s no contest.”).



4
  Notably, this is not the only place in the New York Labor Law where the Legislature chose to create
enforcement mechanisms to be pursued by the State instead of private remedies to be pursued by aggrieved
employees. See, e.g., Awan v. Durrani, No. 14-cv-4562, 2015 WL 4000139, at *9 n.12 (E.D.N.Y. July 1,
2015) (“[N]o private statutory right of action exists to enforce [NYLL § 162]”); see also Hill v. City of New
York, 136 F. Supp. 3d 304, 351 (E.D.N.Y. 2015), amended & supplemented by No. 13CV6147 (E.D.N.Y.
Apr. 29, 2019) (same) (citations omitted); Chuk on Chan v. Good Chows Inc., No. 16-cv-2794, 2017 WL
6550689, at *2 (S.D.N.Y. Dec. 21, 2017) (noting that “the NYLL provides only the Commissioner of Labor,
not employees themselves, with a cause of action to enforce” § 195’s requirement of annual wage
statements when those were required prior to February 2015) (collecting cases); Konkur v Utica Acad. of
Sci. Charter Sch., 181 A.D.3d 1271, 1272 (4th Dep’t 2020) (“[T]he legislature did not intend to create a
private right of action for violations of Labor Law § 198-b [the “kick-back” of wages prohibition], inasmuch
as the legislature specifically considered and expressly provided for enforcement mechanisms in the statute
itself”) (internal quotation marks and citations omitted).



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          Further, the Legislative history demonstrates that that the Legislature never intended to

confer a private right of action for liquidated damages to redress an alleged pay frequency

violation. A weekly pay requirement was first enacted in the New York Law in 1890. That law

stated:

          Every manufacturing … [and] mercantile … corporation … shall pay weekly, each
          and every employee engaged in its business, the wages earned by such employee
          within six days of the date of such payment…. Any corporation violating any of
          the provisions of this act shall be liable to a penalty not exceeding fifty dollars and
          not less than ten dollars for each violation, to be paid to the people of the state and
          which may be recovered in a civil action; provided an action for such violation is
          commenced within thirty days from the date thereof. The factory inspectors of this
          state, their assistants or deputies may bring an action in the name of the people of
          the state as plaintiff against any corporation which neglects to comply with the
          provisions of this act for a period of two weeks, after having been notified in writing
          by such inspectors, assistants or deputies, that such action will be brought.

Session Law 1890, Ch. 388 §§ 1–2.5 Thus, from the beginning, the remedy for violation of the

weekly pay requirement was that a corporation would pay a penalty to the state. The Legislature

authorized the government actors tasked with enforcing the weekly pay provision, the factory

inspectors, to seek those penalties. That same conceptual regulatory scheme has existed since that

first law was enacted, and it still exists today.

          On May 13, 1897, the weekly pay requirement was codified in the Labor Laws, with similar

provisions. N.Y. Gen. Laws, Ch. 32, Art. 1 § 11. 6 That version of the law specifically stated:

          Penalty for violation of preceding sections.—If a corporation or joint stock
          association, its lessee or other person carrying on the business thereof, shall fail to
          pay the wages of an employe[e] as provided in this article, it shall forfeit to the
          people of the state the sum of fifty dollars for each such failure, to be recovered by
          the factory inspector in his name of office in a civil action; but an action shall not
          be maintained therefor, unless the factory inspector shall have given to the
          employer at least ten days’ written notice, that such an action will be brought if the
          wages due are not sooner paid as provided in this article.


5
    A copy of this statute is attached to the Ruzal Declaration as Exhibit F.
6
    A copy of this statute is attached to the Ruzal Declaration as Exhibit G.

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Id. Again, in that iteration of the law, the penalty provision was a payment to the state.

Significantly, the statute used similar language to the present day version, i.e., that an action can

be brought only “if the wages due are not sooner paid.” Id. The weekly pay requirement was re-

codified in 1966 as § 191, and again, as with the prior statutes, a private right of action was not

provided. See Session Law 1966, Ch. 548 § 191. 7

          Section 198 of the NYLL was first enacted in 1966. In its original form, it was spare as

compared with the modern version. It stated:

          § 198. Costs, remedies. 1. In any action instituted upon a wage claim by an
          employee or the commissioner in which the employee prevails, the court may allow
          such employee in addition to ordinary costs, a reasonable sum, not exceeding fifty
          dollars for expenses which may be taxed as costs. No assignee of a wage claim,
          except the commissioner, shall be benefited by this provision.
          2. The remedies provided by this article may be enforced simultaneously or
          consecutively so far as not inconsistent with each other.

Since then, § 198 has been amended eight separate times. Through every amendment, the

Legislature has never added language authorizing a private litigant to bring suit for a violation of

§ 191 or otherwise pursue liquidated damages for the late payment of wages. See L.1967, c. 294,

§ 5; L.1967, c. 310, § 1; L.1997, c. 605, § 4, eff. Nov. 16, 1997; L.2009, c. 372, § 1, eff. Nov. 24,

2009; L.2010, c. 564, § 7, eff. April 9, 2011; L.2014, c. 537, §§ 2, 5, eff. Feb. 27, 2015; L.2015,

c. 2, § 3, eff. Feb. 27, 2015; L.2015, c. 362, § 2, eff. Jan. 19, 2016, L.2021, c. 397, § 3, 5, eff. Aug.

19, 2021.8

          In 2010, the Legislature passed the Wage Theft Prevention Act (“WTPA”), which, in part

amended § 198(1-a) to address the problem of “wage theft” by employers. Specifically, § 198(1-

a) was amended to allow a prevailing employee to recover liquidated damages reflecting “the full



7
    A copy of this statute is attached to the Ruzal Declaration as Exhibit H.
8
    A copy of these amendments is attached to the Ruzal Declaration as Exhibit I.

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amount of any underpayment,” increased from the previously authorized amount of 25 percent of

any underpayment. N.Y. Bill Jacket, 2010 S.B. 8380, Ch. 564. 9 The Commissioner of Labor

supported the passage of the WTPA because of the harm that “wage theft” caused throughout the

economy. Specifically, the Commissioner characterized the WTPA as “increas[ing] penalties for

violation of various provisions of the Labor Law intended to protect workers from nonpayment

and underpayment of wages.” Id., Mem. of Comm’r to the Governor, at 1 (Dec. 10, 2010)

(emphasis added). In other words, the Commissioner of Labor recognized that certain provisions

of the NYLL are intended to address violations involving “nonpayment and underpayment,” while

others are intended to address other types of violations that do not involve nonpayment or

underpayment. Further, the Commissioner stated that the WTPA was intended to penalize

employers that (i) paid employees less than the minimum wage or their agreed-upon wage;

(ii) created a competitive disadvantage for law-abiding employers by reducing the cost of their

own business; and (iii) hurt the state and local economy by reducing wages that would otherwise

“make their way into the economy and generate income and sales taxes.” Id. at 2. Again, this

history confirms that the Legislature designed the enhanced penalties in § 198(a-1) to deter the

non-payment of wages, not the routine payment of wages on a bi-weekly pay schedule, as Plaintiffs

allege here.

          In sum, given the absence of any evidence whatsoever that the Legislature has ever

intended to create a private right of action to pursue liquidated damages for allegedly late-paid

wages, the First Department in Vega wrongly inferred that the legislative purpose of §§ 191 and

198(1-a) would be furthered by finding an implied right. In combination with the Vega and Scott

courts’ failures to consider § 218(1), their misapprehension of the legislative purpose of these


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    A copy of this is attached to the Ruzal Declaration as Exhibit J.

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statutes is another reason to reject their holdings regarding the creation of an implied right of

action.




                                         CONCLUSION

          The Court should dismiss Plaintiffs’ First Amended Complaint with prejudice.


New York, New York
November 4, 2021                                  EPSTEIN BECKER & GREEN, P.C.

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